Case 1:22-cv-11378-RGS Document 227-53 Filed 02/21/24 Page 1 of 4




             EXHIBIT 53
Case 1:22-cv-11378-RGS Document 227-53 Filed 02/21/24 Page 2 of 4




                 EXHIBIT 6
        Case 1:22-cv-11378-RGS Document 227-53 Filed 02/21/24 Page 3 of 4




October 16, 2023                                                                            Disha R. Patel


                                                                                           +1 617 526 6795 (t)
                                                                                           +1 617 526 5000 (f)
                                                                                  disha patel@wilmerhale.com



Thomas H. L. Selby
Williams & Connolly LLP
680 Maine Avenue, S.W.
Washington, DC 20024
tselby@wc.com

Bruce M. Wexler
Paul Hastings LLP
200 Park Avenue
New York, NY 10166
brucewexler@paulhastings.com


Re: ModernaTX, Inc. et al v. Pfizer Inc. et al, Case No. 1:22-cv-11378-RGS (D. Mass.): Plaintiffs’
    Document Reproduction and Clawback

Counsel:

Pursuant to paragraph 9.2 of the Protective Order (Dkt. 67), please immediately destroy the original
and all copies of the eight documents in the Bates ranges listed below, inadvertently produced by
Plaintiffs. Please destroy any notes or other writings or recordings that summarize, reflect, or discuss
the specific content of the document, and make no further use of the documents or the information
contained therein.

Bates Ranges

MOD_000271578 – MOD_000272436
MOD_000773816 – MOD_000773831
MOD_001206099 – MOD_001206332

Plaintiffs provide with this letter a privilege log for certain of the above documents, which are
privileged in their entirety.

In addition, Plaintiffs are herewith providing overlay files for these eight documents. Via an emailed
secure link, you will receive access to a share site containing documents Plaintiffs are reproducing
in the above-referenced action.




                                                   1
        Case 1:22-cv-11378-RGS Document 227-53 Filed 02/21/24 Page 4 of 4




October 2, 2023
Page 2



The files have been password-protected, and the associated password is:


Regards,
/s/ Disha Patel
Disha Patel

+1 617-526-6795
disha.patel@wilmerhale.com




                                                2
